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                                                September 25, 2019
 VIA PACER
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
 Attn: Magistrate Judge Vera M. Scanlon


                Re: Riseboro Community Partnership Inc. v.
                    SunAmerica Housing Fund No. 682 et al
                    Case No.: 18-cv-07261-RJD-VMS
                    REQUEST TO AMEND SCHEDULING ORDER AND TIME TO REPLY


 Honorable Magistrate Judge Scanlon:


                 This office represents the Plaintiff in the above captioned action. By way of this
 letter Plaintiff respectfully requests that this Court grant the parties’ mutually consented to
 amendments (as detailed below) to the August 21, 2019 Initial Scheduling Order (PACER Doc.
 23). Further, the Plaintiff respectfully requests that this Court grant the parties’ mutually consented
 extension for Plaintiff to reply or otherwise respond to Defendants’ Counterclaims to on or before
 October 18, 2019.

                The parties have agreed to extend the time for Automatic disclosures required by
 Rule 26(a)(1) of the FRCP to be completed to November 3, 2019 (Para. 2 of the Initial Scheduling
 Order). The parties have agreed to extend the time for initial document requests and interrogatories
 to be served to November 8, 2019 2019 (Para. 2 of the Initial Scheduling Order). Annexed hereto
 is a proposed amended Initial Scheduling Order.

                                                Respectfully submitted,
                                                S/ Daniel Goldenberg
                                                Daniel Goldenberg (DG-1337)


 CC:    To all Counsel via PACER
